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 1                                                                 Judge Robart


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 6

 7                            UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 8                                         AT SEATTLE


 9   The UNITED STATES of AMERICA, )
                                               )
10                        Plaintiff,           )      No. CR06-319JLR
                                               )
11                 v.                          )
                                               )      ORDER CONTINUING
12   QUOC TRUNG LE,                            )      PRE-TRIAL MOTIONS DUE DATE
     TRUNG THANH LE,                           )      AND TRIAL DATE
13   THUONG HOAI TRUONG,                       )
     TRUNG VAN LE,                             )
14   KIM ANH T. HOANG,                         )
     SAN THI LE a/k/a JULIE LE,                )
15   JENNIFER LE,                              )
     THANH THEA HAU,                           )
16   PHU TRUNG LE a/k/a JOHNNY LE,             )
     QUAN DO,                                  )
17   HAI NGUYEN,                               )
     TAMMY HO,                                 )
18   THU TRANG THI HOANG,                      )
     HUNG HUYNH,                               )
19   NGUYEN NHAT LE,                           )
     KIM NGUYEN,                               )
20   CHINDA TES, and,                          )
     DAVID EISELE,                             )
21                                             )
                                 Defendants.   )
22
            THIS MATTER comes before the Court after having held a Status Conference
23
     with all parties and upon a request by counsel for defendants to continue the trial date
24
     and pre-trial motions due date.   Having considered the entirety of the record and files
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     herein, having held a status conference with all parties, the Court finds that a failure to
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     grant a continuance would likely result in a miscarriage of justice due to the complexity
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     of the case, the large volume of discovery materials which continues to be disclosed,
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     the ongoing plea negotiations between the parties, and the need for continuity of


                                                                                  UNITED STATES ATTORNEY
     ORDER CONTINUING TRIAL - Page 1                                               700 Stewart Street, Suite 5220
                                                                                  Seattle, Washington 98101-1271
     Quoc Le, et al./CR06-319JLR                                                           (206) 553-7970
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 1   counsel and effective assistance of counsel.     Thus, the Court further finds that a


 2   continuance of the pre-trial motions due date and the trial date will allow the


 3   government and the defendants necessary time to adequately prepare for trial.


 4          The Court further finds that the interests of the public and the defendants in a


 5   speedy trial in this case are outweighed by the ends of justice.


 6          IT IS NOW, THEREFORE, ORDERED that pre-trial motions due date is reset


 7   to March 23, 2007, with any responsive brief due two weeks thereafter.        The trial is


 8   continued from March 5, 2007, to April 17, 2007.        The Court strikes as moot the


 9   motions to extend pre-trial motions deadline (docket nos. 200, 208, 210, 211).


10          This Court further ORDERS that the time between the date of this Order and the


11   new trial date be excluded under the Speedy Trial Act pursuant to Title 18, United


12   States Code, Sections 3161(h)(8)(A), 3161(h)(8)(B(i), and 3161(h)(B)(ii).


13          Dated this 2nd day   of February, 2007.
14

15

16                                                      A
                                                        JAMES L. ROBART
17
                                                        United States District Judge
18

19   Presented by:
20   JOHN McKAY
     United States Attorney
21

22   s/ Ye-Ting Woo
23   YE-TING WOO
24
     Assistant United States Attorney
     United States Attorney's Office
25
     700 Stewart Street, Suite 5220
26   Seattle, WA   98101-1271

27   (206) 553-2268, Fax: (206) 553-4440

     E-mail: ye-ting.woo@usdoj.gov
28
     Washington State Bar No. 21208


                                                                                   UNITED STATES ATTORNEY
     ORDER CONTINUING TRIAL - Page 2                                                700 Stewart Street, Suite 5220
                                                                                   Seattle, Washington 98101-1271
     Quoc Le, et al./CR06-319JLR                                                            (206) 553-7970
